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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                            Case No. 92-CR-81127-30

DONALD JACKSON,                                                      HON. AVERN COHN

     Defendant.
______________________________/

             ORDER GRANTING DEFENDANT AN EXTENSION OF TIME
                       TO FILE A NOTICE OF APPEAL

       This is a criminal case. Defendant Donald Jackson filed a motion under 18

U.S.C. § 3582(c)(2). On November 2, 2005, the Court denied the motion. Under Fed.

R. App. P. 4(b), defendant had ten (10) days in which to file a notice of appeal.

Defendant did not file a notice of appeal until December 5, 2005. However, in the notice

of appeal, defendant stated he did not receive the Court’s decision until November 26,

2005. On March 14, 2006, the Court of Appeals for the Sixth Circuit remanded the case

“for the limited purpose of considering the notice of appeal as a Fed. R. App. P. 4(b)(4)

motion for an extension of time.”

       Because defendant’s notice of appeal was filed within 30 days from the expiration

of the appeal period, and for good cause shown, the motion is GRANTED.

       SO ORDERED.


Dated: March 17, 2006                      s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
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                                                        92-81127-30 USA v. Donald Jackson

                                   Proof of Service

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 17, 2006, by electronic and/or ordinary mail.


                                         s/Julie Owens
                                        Case Manager
                                        (313) 234-5160




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